212 F.2d 438
    Arthur T. WASSERMAN, Trusteev.Benjamin SEIGEL.
    No. 4811.
    United States Court of Appeals,First Circuit.
    May 12, 1954
    
      Appeal from the United States District Court for the District of Massachusetts; Charles Edward Wyzanski, Jr., District Judge.
      Maurice M. Isen, Boston, Mass., for appellant.
      David Lasker, Boston, Mass., for appellee.
      Before MAGRUDER, Chief Judge, and WOODBURY and HARTIGAN, Circuit judges.
      PER CURIAM.
    
    
      1
      The judgment of the District Court is affirmed.
    
    